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 5   Attorney for Defendant,
     RAFAEL DELATORRE
 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          Case No. 1:16-cr-00122-DAD-BAM-6
12                      Plaintiff,
13          v.                                          STIPULATION AND ORDER TO RESUME
                                                        STATUS ON PRETRIAL RELEASE
14   RAFAEL DELATORRE,
15                      Defendant.
16

17          Plaintiff, UNITED STATES OF AMERICA, by and through its counsel of record, and the

18   Defendant, by and through his counsel of record, stipulate as follows:

19          1. Defendant, RAFAEL DELATORRE, was released with conditions on the instant

20               matter on July 20, 2016.

21          2. On November 8, 2017, the Defendant was committed to the custody of the Attorney

22               General for treatment and evaluation not to exceed four months.

23          3. The Defendant has completed the treatment and evaluation is now in transit by the

24               U.S. Marshal’s Service back to Fresno, California.

25          4. The parties stipulate that once the Defendant is returned to Fresno, California, he is to

26               be released on the same terms and conditions as he was before his commitment.

27               Further, he is to report to Pretrial Services within 24 hours of his release. Further, he

28               is to appear on May 29, 2018, at 10am before the Honorable Dale Drozd in U.S.
                                                       1
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 1               District Court.

 2   Dated: April 24, 2018                 Respectfully submitted,

 3
                                           By /s/ Melanie Alsworth
 4                                         MELANIE ALSWORTH, AUSA
 5
                                           By /s/ Dale A. Blickenstaff
 6                                         DALE A BLICKENSTAFF, Attorney for Defendant,
                                           RAFAEL DELATORRE
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 9                                                 ORDER
10               Upon his arrival in Fresno, the defendant is ordered released on the same terms and
11   conditions that were in effect before his commitment for treatment and evaluation. The defendant
12   is ordered to report to the Office of Pretrial Services within 24 hours of his release and to appear
13   on May 29, 2018, at 10:00 a.m. in courtroom 5 before District Judge Dale A. Drozd.
14   IT IS SO ORDERED.
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        Dated:      April 24, 2018
16                                                         UNITED STATES DISTRICT JUDGE
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